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                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WISCONSIN


    NATIONAL WILDLIFE REFUGE ASSOCIATION,
    et al,
                         Plaintiffs,                                      No. 3:21-cv-00096-wmc
           v.                                                             Consolidated with No. 3:21-cv-
    RURAL UTILITIES SERVICE, et al.                                       000306-wmc
                      Federal Defendants,

    AMERICAN TRANSMISSION COMPANY, LLC, et al.
                   Intervenor-Defendants.
___________________________________
    NATIONAL WILDLIFE REFUGE ASSOCIATION,
    et al,
                       Plaintiffs,
           v.
    UNITED STATES ARMY CORPS OF ENGINEERS, et al.,
                     Federal Defendants.

    AMERICAN TRANSMISSION COMPANY, LLC, et al.
                       Intervenor-Defendants.


            CO-OWNERS’ NOTICE OF STATUS OF CONSTRUCTION ACTIVITIES



        The attached letter from Counsel for the Defendant-Intervenors 1 provides notice to the

Plaintiffs and Defendants that construction of the Cardinal-Hickory Creek electric transmission

project in Wisconsin may begin as soon as, but not prior to, October 25, 2021. The letter

evidences fulfillment of the Defendant-Intervenors’ commitment to provide at least 30-days’

notice to the Plaintiffs before beginning Cardinal-Hickory Creek project-related construction

activities in Wisconsin.


1
 The Intervenor-Defendants are American Transmission Company LLC and ATC Management Inc. (“ATC”), ITC Midwest
LLC (“ITC Midwest”) and Dairyland Power Cooperative (“Dairyland”) (collectively, the “Co-owners”).
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DATED: September 24, 2021                 Respectfully submitted,

                                          s/ Thomas C. Jensen
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                                          Attorneys for Intervenor-Defendants
                                          American Transmission Company LLC by its
                                          corporate manager, ATC Management Inc.,
                                          ITC Midwest LLC and
                                          Dairyland Power Cooperative.
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                                CERTIFICATE OF SERVICE

       I hereby certify that on September 24, 2021, I electronically filed the forgoing

document with the Clerk of Court using the Court’s ECF system, which will serve the

document on all counsel of record registered for electronic filing in the above-captioned

proceeding.



Dated: September 24, 2021
                                                       /s/ Thomas C. Jensen
                                                       Thomas C. Jensen
